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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 DARYL THOMAS AGNEW
 4223 Brooks Street, NE,
 Washington DC 20019

 and

 ALEX DENNIS
 3130 Buena Vista Terrace, SE
 Apt. 1
                                                    Civil Action No.: 15-340 (ABJ)
 Washington, DC 20020

 and

 RAYNEKA WILLIAMSON
 425 2d Street, NE
 Washington, DC

 Plaintiffs

       v.

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA

 Defendant


                                          CLASS ACTION

                                      Third Amended Complaint

1.          Daryl Agnew, Alex Dennis, and Rayneka Williamson on behalf of themselves and the

Arrest Class and the Prosecution Class (both defined below) bring this action against the

Government of the District of Columbia (the “District”) for injuries they suffered during the Class

Period through the “MPD” (the District of Columbia Metropolitan Police Department) and the

District of Columbia Office of the Attorney General (“OAG”) because the MPD and other law

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enforcement officers arrested them and the other members of the Arrest Class and the OAG (and

the US Attorney acting with the consent of the OAG pursuant to D.C. Code § 23-101(d) and (e))

prosecuted Mr. Agnew, Mr. Dennis, and Ms. Williamson and the other members of the

Prosecution Class under the District’s facially unconstitutional “incommoding” statute, D.C. Code

§ 22-1307 (revised1 in 2011).

2.      The District’s “incommoding” statute is facially unconstitutional under the second prong of

the vagueness doctrine, the arbitrary and discriminatory enforcement prong.

3.      The incommoding statute functions as a loitering statute.

4.      It authorizes any law enforcement officer in the District to order any person standing with

at least one foot on a sidewalk or a building entrance, whether partially or totally blocking it,

regardless of whether anyone else is present to be crowded, obstructed, or incommoded, to leave

the area for as long as the officer, in their discretion, commands it.

5.      The vagueness of the operative language, the broad scope of innocent conduct it reaches,

the lack of any minimal guidelines, and the lack of an appropriate mens rea requirement, provides

absolute discretion to police officers to determine what conduct constitutes “crowding, obstructing,

or incommoding” and to order people engaging in such conduct (in the officer’s uncabinned

discretion) to disperse.

6.      The text of the statute does not provide guidelines which cabin the officer’s discretion to

order dispersal.




1
  The provision was enacted in its current form in 2011. D.C. Act 18-693, § 302 (a), 58 D.C.
Reg. 640, 644 (2011) (emergency legislation); D.C. Act 19-45, § 302 (a), 58 D.C. Reg. 3701,
3705 (2011) (second emergency legislation); D.C. Act 18-699, § 2 (a), 58 D.C. Reg. 731 (2011)
(permanent legislation).
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7.      The addition of a dispersal order element, without any guidelines to cabin the officer’s

discretion in ordering dispersal, magnifies the vagueness of the statute.

8.      The arrests injured Mr. Agnew, Mr. Dennis, and Ms. Williamson and the other members

of the Arrest Class by depriving them of their liberty and causing them other damages. The arrests

also left them with arrest records.

9.      The prosecutions injured Mr. Agnew, Mr. Dennis, and Ms. Williamson and the other

members of the Prosecution Class because the OAG initiated a prosecution against Mr. Agnew,

Mr. Dennis, and Ms. Williamson and the other members of the Prosecution Class and they had to

defend themselves and they suffered limits on their freedom pending disposition of their cases and

they suffered other injuries.

10.     Prosecutors drop most of the cases that do reach the D.C. Office of the Attorney General

from MPD.

11.     For example, in 2014 MPD and other law enforcement officers referred OAG 45

incommoding cases, and OAG initiated prosecution in only 15 of them.


                                        Jurisdiction and Venue


12.     This Court has original jurisdiction over plaintiffs’ § 1983 claims pursuant to 28 U.S.C. §

1331 and 28 U.S.C. § 1343(a)(3).

13.     Venue is appropriate in this District. Each of the claims for relief arose in this judicial

district and all events described herein occurred in the District of Columbia.


                                                Parties



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14.    Mr. Agnew, Mr. Dennis, and Ms. Williamson are adults.

15.    Mr. Agnew and Mr. Dennis are young black men.

16.    Ms. Williamson is an African American woman.

17.    The District is a municipal corporation capable of being sued under D.C. Code § 1-102.

18.    During all events described herein, all police officers referred to herein, named or

unnamed, unless otherwise specified, were police officers of the District of Columbia Metropolitan

Police Department acting within the scope of that employment, in furtherance of the interests of

the District of Columbia, and under color of the statutes, ordinances, rules, customs, and usage of

the District of Columbia.


                                            Sidewalk Use


19.    People use sidewalks as a gathering place where they can socialize, shop, and enjoy the

theatre of life, and not just as paths like the people-movers that connect terminals in airports. As

Aristotle says, “People are by nature urban creatures.” Politics Book I (1253a1-18).




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20.    Figure 1, people lined up along 33d Street, NW in Georgetown waiting to buy cupcakes at

Georgetown Cupcake.

21.    They stop, shake hands, and chat, and, invariably, as part of human nature when they stop

and chat they stop in the middle of the sidewalk.

22.    Elderly people use walkers on the sidewalk.




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23.

24.    Figure 2, elderly resident uses walker on sidewalk in Southeast.

25.    They push large baby carriages up narrow, tree-lined, leaf covered sidewalks and they stop

and visit with neighbors standing there or passing by. They queue up on the sidewalk to catch the

Metrobus and get into the theatre. They sit on the steps of the Smithsonian to enjoy the weather.

They sit outside at outdoor cafes. They stand in groups on the sidewalk after services and talk after

leaving their churches, temples, and mosques. They completely clog the sidewalks after sporting

events and concerts at venues like the Verizon Center.




26.

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27.     Figure 3, young mom pushing a large baby buggy on a narrow sidewalk unwittingly

“crowds, obstructs, and incommodes” a sidewalk in the District of Columbia.




28.

29.     Figure 4, young black man arrested here at Starburst Intersection Plaza 1550 Maryland Ave

NE, Washington, DC 20002 during regular park hours for “crowding, obstructing, or

incommoding ” while chatting with friends and sitting on low wall on edge of walkway like the

figure in yellow shirt and blue pants.

30.     They hang out on the streets and corners, especially in the poorer neighborhoods, where

there are no theatres, museums, or outdoor cafes, and the government has not sponsored

redevelopment zones.

31.     Sometimes they even sit on the sidewalk to express their discontent with their government.

32.     In other words, life happens on the sidewalks of the District of Columbia all the time.

33.     The incommoding statute authorizes arrest in each one of these situations - in the police

officer’s discretion.




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 The D.C. Council enacted an unconstitutional incommoding statute despite being advised not to


34.     The incommoding statute has been on the books since 1892 and has been the subject of

criticism ever since.

35.     The D.C. Council made revisions to the incommoding statute in 2010 which became

effective in 2011.

36.     The D.C. Council made five major changes to the statute which rendered it

unconstitutionally vague under the second prong of the vagueness doctrine: (1) the Council

eliminated any scienter element by consciously deciding not to include the “breach of peace”

scienter element which the Court of Appeals had added by gloss to the previous version of the

statute to make the statute Constitutional or any other scienter element; (2) the Council eliminated

the “assembly” element of the statute by reducing the number of people required for a violation

from three to one, thereby eliminating any common law mens rea requirement imported into the

statute from the common law offense of unlawful assembly; (3) the Council retained the terms

“crowd,” “obstruct,” and “incommode” without providing any definitions or limiting criteria in the

incommoding statute; (4) the Council refused to replace these vague and archaic terms with a

clearly understood term such as “block passage;” and (5) the Council substituted a “dispersal

order” or “move on order” for the mens rea requirement (while rejecting any narrowing

qualifications such as duration qualifications on the dispersal order).

37.     Various stakeholders in the District’s criminal justice system and concerned citizens groups

advised the District against these changes.




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38.      The MPD and OAG and the United States Attorney’s Office all proposed language for

“blocking” sidewalks which included both a mens rea requirement as well as a “stop blocking”

order.

39.      The ACLU also warned the Council that the proposed language for “blocking” sidewalks

should include a mens rea requirement as well as a stop blocking order.


      District on notice that statute is vague and that it encourages arbitrary and discriminatory

                                             enforcement


40.      Shortly after the amendments became effective the D.C. Council learned that the

incommoding statute was being enforced in an arbitrary and discriminatory enforcement.

41.      The D.C. Council even held hearings to investigate the problem.

42.      Moreover, in a letter to then-Attorney General Irv Nathan, Council Member Mary Cheh

complained that police were enforcing the incommoding statute in an arbitrary and discriminatory

manner.

43.      Council Member Mary Cheh recognized that the dispersal / move-on element meant giving

police the ability to banish anyone from a public space whenever they wanted.

44.      But, the D.C. Council did not take any steps to amend the statute to fix the problem of

arbitrary and discriminatory enforcement caused by the vagueness described herein.


                      The text of the incommoding statute as amended in 2011


45.      In pertinent part, the “incommoding” statute as amended in 2011 reads:


         It is unlawful, alone or in concert with others, to [A] crowd, obstruct, or
         incommode [1] the use of any street, avenue, alley, road, highway, or sidewalk, or
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           [2] the entrance of any public or private building or enclosure or [3] the use of or
           passage through any public conveyance, and [B] to continue or resume the
           crowding, obstructing, or incommoding after being instructed by a law enforcement
           officer to cease the crowding, obstructing, or incommoding.

D.C. Code2 § 22-1307(a) (D.C. 2014).


46.        Without further definition, these terms are so vague as to vest unfettered discretion to law

enforcement to determine precisely how much crowding, obstructing, or incommoding triggers the

statute.

47.        The undefined terms are also so broad as to criminalize a substantial amount of innocent

conduct by nearly all of the District of Columbia’s population.

48.        The vagueness of the incommoding statute due to the lack of definitions and the

imprecision of the terms used is compounded by the lack of an appropriate mens rea element.

49.        The addition of a dispersal order element, without any guidelines to cabin the officer’s

discretion in ordering dispersal, magnifies the vagueness.

50.        The vagueness and overbreadth of the incommoding statute has led the MPD and other

law enforcement officers enforcing it to enforce it as a general loitering statute.


    The incommoding statute is employed especially against young black men in neighborhoods such

                                           as the Trinidad area




2
 The penalty is a fine of $500 or 90 days in jail. The Office of the Attorney General of the District
of Columbia ("OAG") is the proper authority to prosecute alleged violations of the incommoding
statute. D.C. Code § 23-101(b). However, the US Attorney may also prosecute cases under the
incommoding statute if the Attorney General of the District of Columbia consents. D.C. Code §
23-101(d) and (e).

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51.    The incommoding statute is employed especially against young black men in the

community most frequently in and near areas such as the Trinidad area. “Where the Sidewalk

Ends,” Will Sommer, City Paper, May 21, 2015.

http://www.washingtoncitypaper.com/articles/47171/where-the-sidewalk-ends-dcs-law-against-

blocking-the-sidewalk

52.    An informal survey of CJA lawyers and civil rights lawyers who practice in the District

indicates that, with the exception of persons arrested for protests, almost every person arrested for

incommoding is a young black man or woman in or near an area such as the Trinidad or

Bladensburg Road, NE area.

53.    These areas are in the process of gentrification and both the area and the streets there are

being cleared of the traditionally African American residents.


                     Arrest of Young Black Man in Starburst Intersection Plaza


54.    The Starburst Intersection Plaza is a broad plaza with broad walkways and the District

installed benches and chess tables and chairs and other furniture which invite people to sit and

spend time in the park.

55.    On about 9/4/2014 several young black men were in the Starburst Intersection Plaza at

1550 Maryland Ave NE, Washington, DC 20002 during normal park hours using it, as the District

intended, by sitting down and chatting.

56.    The young men were sitting at the edge of a broad walkway. They were not blocking the

passage of anyone.




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57.     Several carloads of MPD officers stormed into the park like an occupying army and

ordered everyone to leave even though by law the park was open.

58.     One young man did not leave.

59.     The MPD arrested him for incommoding.

60.     The OAG prosecuted him for incommoding in a bench trial in Superior Court but he was

acquitted by the Court on a defense motion for judgment of acquittal.


                                        Mr. Bugg Bey’s Arrest


61.     On about Friday, May 9, 2014 between 3 and 5 pm Mr. Bugg Bey was leaning against a

fence in front of 1607 Levis Street, NE, in the Trinidad area chatting with about eight other friends

and neighbors.

62.     The fence was on a strip of private property between the sidewalk and the fence in the yard

of the house.

63.     Mr. Bugg Bey and the others all had permission from the owner to be there.

64.     Officer Onoja, the arresting officer, knew before he arrested Mr. Bugg Bey that that strip of

grass in the yard between the sidewalk and the fence is private property.

65.     Some of the young men were also standing on the private strip of grass in the yard between

the sidewalk and the fence.

66.     The rest of Mr. Bugg Bey’s friends were spread out standing on the strip of grass between

the sidewalk and the street (the curb strip).

67.     Suddenly an MPD police cruiser (with lights flashing) driven by Officer Victor Slopac with

Officer Onoja as a passenger turned the corner and pulled over.


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68.    None of the group was standing in the sidewalk.

69.    None of the group was blocking passage along the sidewalk and no pedestrians were trying

to walk along the sidewalk at this time.

70.    But, had any pedestrians happened along, Mr. Bugg Bey and his friends would have gladly

made way for them to pass if needed.

71.    According to Mr. Bugg Bey, Officer Onoja “pretty much -- he told us that we had to leave

from where we was at. That we had to move.”

72.    The group did leave.

73.    About an hour later Officer Onoja and Officer Slopac returned.

74.    Mr. Bugg Bey and two or three members of the group were again chatting in basically the

same place.

75.    Officer Onoja and Officer Slopac immediately arrested Mr. Bugg Bey for “blocking

passage” under D.C. Code § 22-1307.

76.    Officer Slopac testified in a deposition that during the one year period he worked with

Officer Onoja in about 2014-2015 he observed Officer Onoja arrest at least five other young black

men in the Trinidad area for incommoding.

77.    Mr. Bugg Bey was transported to the 5th District station and to Central Cellblock where he

was held overnight.

78.    The next morning Mr. Bugg Bey was presented in Superior Court but he was released

because his case was “no-papered.”


                         Mr. Alexander’s Arrest on Bladensburg Road, NE



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79.    Mr. Alexander was arrested by Officer Onoja and three other 5th District MPD officers for

the offense of incommoding about 5:30 pm on Saturday, 8/8/2015, in front of the “Stanton” store

at 1044 Bladensburg Road, NE in Washington, DC, because he walked up and down the sidewalk

alongside Bladensburg Road a few times after Officer Onoja ordered him to leave the area for

“blocking passage.”

80.    Figure 5 shows the Stanton store location where Mr. Alexander was arrested.




81.    The sidewalk in front of the store is easily wide enough for people to chat with each other

on the sidewalk and still allow other people to walk or bicycle up or down the sidewalk.

82.    For example, people, including Officer Onoja, ride their bikes on the sidewalk in front of

the store, and every few minutes someone rides a bicycle up or down the sidewalk past the store.




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                Mr. Alexander at the Station, released on citation; case no-papered


83.    After Mr. Alexander was arrested MPD officers transported him to the 5th District station

where he was released on citation.

84.    The OAG “no-papered” his case.


               Details of Named Plaintiffs’ Arrests and Releases, and Prosecutions


                              Mr. Agnew’s Arrest on Christmas Eve




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85.    Mr. Agnew’s contact with MPD began about 6:00 pm on Christmas Eve when he and the

mother of his child and a friend were enjoying the evening air on the stoop of his child’s mother’s

building at 3146 Buena Vista Terrace, SE in Washington, DC.

86.    Mr. Agnew was outside relaxing.

87.    The police report in Mr. Agnew’s case which Officer Norris’ partner authored has the

same operative language as the Gerstein in Mr. Dennis’s case which Officer Norris authored,

namely, “Both of the males were standing in a manner that would cause a citizen or citizens trying

to utilize the walkway to deviate from their path of walking.”

88.    But, the way was clear for pedestrians to come and go around them and many people were

in fact coming and going around them because it was Christmas Eve.

89.    Suddenly the pleasant scene was shattered when Officer Vincent Norris rolled up in his

police cruiser and in a furious manner yelled at Mr. Agnew and the others to leave.

90.    Officer Norris is known to have arrested several other young black men in the area for

incommoding.

91.    Officer Norris is the same officer who arrested Mr. Dennis a month earlier on

Thanksgiving Eve for incommoding in his yard which is a few doors down the street from where

Officer Norris arrested Mr. Agnew.

92.    Mr. Agnew explained that they were simply taking the air and smoking outside because his

daughter had asthma and he did not smoke around her.

93.    He explained that the mother lived there and they had every right to be there.

94.    Enraged, Officer Norris screamed at Mr. Agnew and the others to leave because, as he

said, they were “blocking passage.”


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95.    Because the statute vests unlimited discretion in law enforcement officers to determine

whether a person on the sidewalk or in a doorway is “crowding, obstructing, or incommoding” and

Officer Norris exercised his discretion to classify Mr. Agnew as “crowding, obstructing, or

incommoding” the statute applied to Mr. Agnew by the officer.

96.    Officer Norris then instructed his partner, Officer Tiarra Smith, to arrest Mr. Agnew for

incommoding under D.C. Code § 22-1307.

97.    Officer Smith then arrested Mr. Agnew for incommoding.


                            Mr. Agnew at the Station on Christmas Eve


98.    The MPD officers then transported Mr. Agnew to the 7th District station arriving there

about 7:00 pm.

99.    Mr. Agnew was fingerprinted and placed in a holding cell with other persons.

100.   After about three hours Mr. Agnew was released on citation release under D.C. Code § 23-

1110(b).


                       Mr. Agnew charged and prosecuted; case DWIP’ed


101.   Mr. Agnew was charged by information sworn by Officer Smith on 1/9/2015 by the OAG

with incommoding under D.C. Code § 22-1307.

102.   The information did not specify the subsection, only D.C. Code § 13-1307. [or, 22-1307?]

103.   Mr. Agnew appeared at court for arraignment on 1/14/2015 and the judicial officer

released him on PR pending trial.




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104.     Mr. Agnew appeared for trial on 3/2/2015 and the case was dismissed for want of

prosecution.


                              Mr. Dennis’ Arrest on Thanksgiving Eve


105.     Mr. Dennis’s contact with MPD began about 8:30 pm on Thanksgiving Eve, 11/26/2014,

when and his family were preparing their Thanksgiving celebration on Thanksgiving Eve, at their

home at 3130 Buena Vista Terrace, SE in Washington, DC.

106.     Mr. Dennis had stepped outside for a moment and he was standing in the yard on a ramp a

few feet in front of the porch to his apartment building getting a breath of evening air, taking a

break from the cooking.

107.     The way was clear for pedestrians to come and go.

108.     No one was trying to come up the ramp.

109.     If someone had come by, Mr. Dennis would have moved.

110.     The police report does not mention anyone who could not get past him.

111.     That holiday spirit vanished when Officer Vincent Norris rolled up in his police cruiser

and in a furious manner yelled at Mr. Dennis and another man to leave.

112.     Officer Norris is known for having a quick temper that seems to control him.

113.     Officer Norris is known to have arrested several other young black men in the area for

incommoding.

114.     He is the very same officer who arrested Mr. Agnew a few doors up the street just a month

later.




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115.      Mr. Dennis refused to move because, as he explained, he was simply taking the air in front

of his home.

116.      The ramp is wide enough to allow two or three people to walk on it.

117.      “How can you tell me to move from the place where I live at?” Mr. Dennis says to Officer

Norris.

118.      Because the statute vests unlimited discretion in law enforcement officers to determine

whether a person on the sidewalk or in a doorway is “crowding, obstructing, or incommoding” and

Officer Norris exercised his discretion to classify Mr. Dennis as “crowding, obstructing, or

incommoding” the statute applied to Mr. Dennis.

119.      When Mr. Dennis refused to move, Officer Norris arrested him and put him into a van.

120.      As the MPD took him away, Mr. Dennis asked him why he was being arrested. “Blocking a

passage,” Officer Norris said “You’re going with me.”

121.      The Gerstein in Mr. Dennis’s case authored by Officer Norris has the same operative

language as the police report in Mr. Agnew’s case which Officer Norris’ partner authored, namely,

“Both of the males were standing in a manner that would cause a citizen or citizens trying to utilize

the walkway to deviate from their path of walking.”


                            Mr. Dennis at the Station on Thanksgiving Eve


122.      The MPD officers then transported Mr. Dennis to the District station arriving there about

10:00 pm.

123.      Mr. Dennis was fingerprinted and placed in a holding cell with other persons.




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124.    After several hours Mr. Dennis was released the next day on citation release under D.C.

Code § 23-1110(b).


                       Mr. Dennis charged and prosecuted; case DWIP’ed


125.    Based on an affidavit sworn by Officer Norris on 11/26/2014 Mr. Dennis was charged by

information by the OAG with incommoding under D.C. Code § 22-1307 on 12/23/2014.

126.    The information did not specify the subsection, only D.C. Code § 22-1307.

127.    Mr. Dennis appeared at court for arraignment on 1/14/2015 and was released on PR

pending trial.

128.    Mr. Dennis appeared for trial on 3/2/2015 and the case was dismissed for want of

prosecution.


                                      Ms. Williamson’s Arrest


129.    Ms. Williamson’s contact with MPD began about 3:50 pm on 2/4/2015 on a commercial

street at 2403 Martin Luther King, Jr. Ave., S.E.

130.    Officer Richardo Amos told Ms. Williamson to move from where she was standing on the

sidewalk at 2403 Martin Luther King, Jr. Ave., S.E. because, as his police report reads, he

observed her standing in front of the location “disrupting the smooth flow of pedestrian traffic.”




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131.   Figure 4 shows the commercial location where Ms. Williamson was arrested.




132.   Officer Amos’ report does not state that he observed any people at all who were present at

the location when he observed Ms. Williamson.

133.   Ms. Williamson was standing on the sidewalk and walking on the sidewalk when she was

observed by Officer Amos.

134.   The way was clear for pedestrians to come and go.

135.   No one was trying to walk on the sidewalk where Ms. Williamson was.

136.   She was not blocking the passage or even obstructing it.

137.   If someone had come by, Ms. Williamson would have moved as needed.

138.   The police report does not mention anyone who could not get past her during his initial

encounter with her.

139.   Officer Amos ordered Ms. Williamson to leave about 3:30 pm.

140.   Ms. Williamson continued walking and standing in the area but always allowing other

people enjoying the area with her to have free movement.




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141.   Officer Amos came back about half an hour later arrested Ms. Williamson because, as his

report states, “he observed pedestrians having to maneuver around her to get by on the sidewalk,

and because merchants were complaining about her in the area.

142.   Ms. Williamson tried explained to Officer Amos why she was doing nothing wrong and did

not have to leave.

143.   Because the statute vests unlimited discretion in law enforcement officers to determine

whether a person on the sidewalk or in a doorway is “crowding, obstructing, or incommoding” and

Officer Amos exercised his discretion to classify Ms. Williamson as “crowding, obstructing, or

incommoding” the statute applied to Ms. Williamson.

144.   Officer Amos arrested her for crowding, obstructing, or incommoding.


                             Ms. Williamson at the 7th District Station


145.   The MPD officers then transported Ms. Williamson to the 7th District station arriving there

about 4:00 pm.

146.   Ms. Williamson was fingerprinted and placed in a holding cell with other persons.

147.   Ms. Williamson was not released on citation release under D.C. Code § 23-1110(b).

148.   Ms. Williamson was held overnight and presented in Superior Court on 2/5/2015.


                      Ms. Williamson charged and prosecuted; case DWIP’ed


149.   Ms. Williamson was charged by information by the OAG with incommoding under D.C.

Code § 22-1307 on 12/23/2014.

150.   The information did not specify the subsection, only D.C. Code § 13-1307. [22-1307?]


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151.     Ms. Williamson was released on conditions.

152.     Ms. Williamson appeared at court for arraignment on 2/19/2015 and was released on PR

pending trial.

153.     Ms. Williamson appeared for trial on 3/13/2015 and the case was dismissed for want of

prosecution.


                                  Substantive Allegations for Claims

                                               Claim 1

  § 1983 Liability of District of Columbia under the Fifth Amendment for unlawful prosecutions


154.     Mr. Agnew, Mr. Dennis, and Ms. Williamson adopt by reference the contents of the

preceding paragraphs as if fully set forth herein.

155.     The D.C. Council amended the incommoding statute effective 2011.

156.     The incommoding statute is facially unconstitutional under the Fifth Amendment.

157.     The incommoding statute is vague under the second prong of the vagueness doctrine, the

arbitrary and discriminatory enforcement prong.

158.     The statute authorizes and even encourages arbitrary and discriminatory enforcement. The

D.C. Council established minimal guidelines in the statute to govern law enforcement and thus the

D.C. Council necessarily entrusted lawmaking to the moment-to-moment judgment of the

policeman on his beat

159.     Because the incommoding statute is facially unconstitutional under the Fifth Amendment it

is a nullity.




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160.    Each one of the Named Plaintiffs and the other members of the Arrest Class was arrested

when the District enforced the facially unconstitutional incommoding statute against them by

arresting them.

161.    Accordingly, the Named Plaintiffs and the other members of the Arrest Class are entitled

to damages and other relief as set forth below.


                                               Claim 2


  § 1983 Liability of District of Columbia under the Fifth Amendment for unlawful prosecutions


162.    Mr. Agnew, Mr. Dennis, and Ms. Williamson adopt by reference the contents of the

preceding paragraphs as if fully set forth herein.

163.    The incommoding statute is facially unconstitutional under the second prong of the

vagueness doctrine, the arbitrary and discriminatory enforcement prong, in violation of the Fifth

Amendment but still the District through its Attorney General’s Office prosecuted Mr. Agnew, Mr.

Dennis, and Ms. Williamson and the other members of the Prosecution Class under the

incommoding statute.

164.    Accordingly, Mr. Agnew, Mr. Dennis, and Ms. Williamson and the other members of the

Prosecution Class are entitled to damages and other relief as set forth below.


                                      Rule 23 Class Allegations


165.    Mr. Agnew, Mr. Dennis, and Ms. Williamson on behalf of themselves and the Arrest

Class bring this action under Rules 23(a), 23(b) (2) and 23(b)(3) of the Federal Rules of Civil

Procedure on behalf of a class consisting of each person who: (i) in the period beginning three

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years before the date of filing of the original complaint in this case and going forward until the case

is terminated; (ii) was arrested for violation of the incommoding statute.

166.   Mr. Agnew, Mr. Dennis, and Ms. Williamson on behalf of themselves and the other

members of the Prosecution Class bring this action under Rules 23(a), 23(b) (2) and 23(b)(3) of the

Federal Rules of Civil Procedure on behalf of a class consisting of each person who: (i) in the

period beginning three years before the date of filing of the original complaint in this case and

going forward until the case is terminated; (ii) was prosecuted for a violation of the incommoding

statute by the Attorney General of the District of Columbia or with his consent.

167.   Certification of these classes under Federal Rule of Civil Procedure 23(b)(2) is appropriate,

because the District of Columbia has a policy, pattern, and practice for each claim that has

uniformly affected all members the class, and injunctive relief and declaratory judgment and a

judgment against the District and Chief Lanier will benefit each and every plaintiff and class

member.

168.   The classes are entitled to injunctive relief including an injunction prohibiting enforcement

of the incommoding statute and sealing of the arrest records of class members for their arrests

under the incommoding statute.

169.   Mr. Agnew, Mr. Dennis, and Ms. Williamson and the classes are entitled to declaratory

judgment against the District that D.C. Code § 22-1307 is facially unconstitutional and their arrests

and prosecutions on those charges are a nullity.

170.   Certification of these classes under Federal Rule of Civil Procedure 23(b)(3) is also

appropriate, in that common questions of law and fact predominate over any individual questions,




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and class action treatment is superior for the fair and efficient adjudication of these class claims as

detailed below.

171.    These classes are entitled to monetary relief.

172.    Regarding Mr. Agnew, Mr. Dennis, and Ms. Williamson and these classes, there are no

individual questions on the issue of liability, because all members of these classes are injured by

the same policy and practices.

173.    Among the questions of law and fact common to the classes are:


        a)        whether the incommoding statute D.C. Code § 22-1307 is facially unconstitutionally

        because it violates the second prong of the vagueness doctrine under the Fifth

        Amendment, the arbitrary and discriminatory enforcement prong;

        b)        whether enacting a statute that is facially unconstitutional under the second prong of

        the vagueness doctrine violates the Fifth Amendment;

        c)        whether the District of Columbia violates the Fifth Amendment by enforcing its

        facially unconstitutional incommoding statute by arresting people for violating the

        incommoding statute;

        d)        whether the District of Columbia violates the Fifth Amendment by enforcing its

        facially unconstitutional incommoding statute by prosecuting people for violating the

        incommoding statute;

        e)        whether Named Plaintiffs and the members of the classes and future members are

        entitled to equitable relief, and, if so, what is the nature of that relief.




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174.    Each of the Arrest Class and the Prosecution Class is so numerous that joinder of all

members is impracticable. The exact number of the members Arrest Class and the Prosecution

Class members is unknown to plaintiffs at this time but the number of persons who “posted and

forfeited” for incommoding each year numbers at least 50.

175.    Each of Mr. Agnew, Mr. Dennis, and Ms. Williamson’s arrest claims are typical of the

claims of the other members of the Arrest Class, because Mr. Agnew, Mr. Dennis, and Ms.

Williamson and all other members of the Arrest Class were injured by exactly the same means, the

facial unconstitutionality of the incommoding statute.

176.    Each of Mr. Agnew, Mr. Dennis, Ms. Williamson’s prosecution claims are typical of the

claims of the other members of the Prosecution Class, because Mr. Agnew, Mr. Dennis, and Ms.

Williamson and all other members of the Prosecution Class were injured by exactly the same

means, the facial unconstitutionality of the District’s incommoding statute.

177.    Each of Mr. Agnew, Mr. Dennis, and Ms. Williamson on behalf of themselves and the

other members of the Arrest Class and the Prosecution Class will fairly and adequately protect the

interests of the members of the Classes and they have retained counsel who are competent and

experienced in complex federal civil rights class action litigation.

178.    Each of Mr. Agnew, Mr. Dennis, and Ms. Williamson on behalf of themselves and the

Arrest Class and the Prosecution Class has no interests that are contrary to or in conflict with those

of the Classes.

                                        Class Relief Demands




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        Mr. Agnew, Mr. Dennis, and Ms. Williamson on behalf of themselves and all other

members of the Arrest Class and the Prosecution Class respectfully request that this Court grant

the following relief:

A.                 Enter judgment in their favor on all of their claims;

B.                 Declare the incommoding statute under D.C. Code § 22-1307 unconstitutionally

vague under the Fifth Amendment and enjoin the District from implementing any provision of

D.C. Code § 22-1307.

C.                 Award Mr. Agnew, Mr. Dennis, and Ms. Williamson and the putative class

members’ nominal damages in connection with any declaration that D.C. Code § 22-1307 is

unconstitutional or overbroad.

D.                 Grant a jury trial on all claims so triable.

E.                 Declare that this action may be maintained as a class action pursuant to Federal

Rule of Civil Procedure 23(b)(2) and Rule 23(b)(3) and certifying the Arrest Class and the

Prosecution Class, and designating Mr. Agnew, Mr. Dennis, and Ms. Williamson as the proper

representatives of the Arrest Class, and designating Mr. Agnew, Mr. Dennis, and Ms. Williamson

as the proper representatives of the Prosecution Class, and appointing William Claiborne and

Michael Bruckheim and Lynn Cunningham as class counsel of both classes.

F.                 Declare that this action may be maintained as a class action pursuant to Federal

Rule of Civil Procedure 23(a), 23(b) (2) and 23(b)(3).

G.                 Award all the Arrest Class and the Prosecution Class plaintiffs and class

members injunctive relief in the form of sealing their arrest records for incommoding and

declaring the arrests a nullity;


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H.               Award all plaintiffs and class members compensatory and consequential

damages in an amount to be determined at trial;

I.               Award plaintiffs attorneys' fees and costs incurred in bringing this action under

42 U.S.C. § 1988 or as determined under the “common fund” rule; and

J.               Grant such other relief as this Court deems just and proper.




Respectfully submitted,                           Respectfully submitted,


/s/ William Claiborne                             /s/ Michael Bruckheim
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Respectfully submitted,


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                                            JURY DEMAND

Plaintiffs demand a jury of six as to all claims so triable.


/s/William Claiborne
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